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                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
Case Number:         09-52409 JTL                                                          Trustee: (300010)           Joy R. Webster
Case Name:           Security Bank Corporation                                             Filed (f) or Converted (c): 07/31/09 (f)
                                                                                           §341(a) Meeting Date:       09/09/09
Period Ending:       06/30/13                                                              Claims Bar Date:            11/30/09

                                1                                         2                       3                          4                     5                    6

                       Asset Description                               Petition/          Estimated Net Value             Property           Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,       Abandoned           Received by       Administered (FA)/
                                                                        Values          Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate        Gross Value of
Ref. #                                                                                      and Other Costs)                                                   Remaining Assets

 1       Real Property                                                  928,322.71                 928,322.71                                     230,000.00                   FA
           3.48 acres of commercial real property upon which sits
         commercial improvements owned by a non-debtor. The
         property is located at 4219 Forsyth Rd., Macon, GA
         31210

 2       Bank Account                                                 1,391,175.53               1,391,175.53                                 1,432,989.50                     FA
          Security Bank of Bibb County, 4219 Forsyth Rd.,
         Macon, GA 31208 - Account No. 302

 3       Bank Account                                                 1,500,000.00               1,500,000.00                                 1,500,000.00                     FA
           BB&T, 455 Jesse Jewel Parkway, Gainesville, GA
         30501 - Account No. 00052405058194

 4       Shares in Banks                                                      0.00                        0.00                                          0.00                   FA
          FIG Partners, 100 Colony Square, 1175 Peachtree St.,
         N.E., Suite 2250, Atlanta, GA 30361

 5       Security Deposit                                                 1,035.00                    1,035.00                                      1,035.00                   FA
          The Gables at Forsyth, LLC d/b/a The Gables at Wolf
         Creek; 5228 Forsyth Rd., Macon, GA 31210

 6       Stock & Business                                                     0.00                        0.00                                          0.00                   FA
           Stock of Security Interim Holding Corporation

 7       Patents, Copyrights                                                  0.00                        0.00                                          0.00                   FA
           2 Georgia registered trademarks (Security Bank Logo
         and "That's My Bank")

 8       Post-Petition Interest Deposits (u)                             Unknown                      Unknown                                           0.00                   FA



                                                                                                                                              Printed: 07/31/2013 01:22 PM   V.13.13
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         09-52409 JTL                                                        Trustee: (300010)           Joy R. Webster
Case Name:           Security Bank Corporation                                           Filed (f) or Converted (c): 07/31/09 (f)
                                                                                         §341(a) Meeting Date:       09/09/09
Period Ending:       06/30/13                                                            Claims Bar Date:            11/30/09

                                1                                       2                       3                          4                     5                    6

                       Asset Description                             Petition/          Estimated Net Value             Property           Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,       Abandoned           Received by        Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                    Remaining Assets

 9       2005 GMC Yukon                                                Unknown                      12,540.00                                    11,400.00                   FA
           S/N 1GKEC13T85R138112, Miles 104719

10       Potential Tax Refunds (u)                                          0.00              20,000,000.00                                18,557,836.04                     FA
          Dispute with FDIC as to who refunds belong to.

11       Real Property - Le Jardin (u)                                 Unknown                 3,500,000.00                                 2,855,048.87                     FA

12       Retainer for Atty Fees (u)                                         0.00                         0.00                                    15,379.00                   FA
          Troutman, Sanders LLP

13       Refund of Premiums on Cancelled Insurance Polici (u)               0.00                    22,929.00                                    22,929.00                   FA
          Held by Waites & Foshee Insurance, Inc.

14       Tax Refund (u)                                                     0.00                      270.78                                         270.78                  FA
          941 taxes - 3rd quarter - 2006

15       Insurance Brokerage Antitrust Litigation Claims (u)                0.00                     1,130.64                                     1,130.64                   FA
           First set of checks: Claim No. 0005664125 ($700.72) &
         Claim No. 0006132779 ($141.27); Second set of checks:
         Claim No. 0005664125 ($166.51) & Claim No.
         0006132779 ($122.14)
         Insurance Brokerage Antitrust Litigation, c/o Complete
         Claim Solutions, LLC, P.O. Box 24721, West Palm
         Beach, FL 33416

16       Tax Credits (u)                                                    0.00               2,500,000.00                                     551,147.74                   FA
           Stateside Georgia Tax Credit Fund VI, LLC and
         Stateside Georgia Tax Credit Fund VII, LLC

17       Fraudulent Transfer (u)                                            0.00                    25,000.00                                    25,000.00                   FA
           Hall, Bloch, Garland & Meyer, LLP & John Ramsey -

                                                                                                                                            Printed: 07/31/2013 01:22 PM   V.13.13
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                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:         09-52409 JTL                                                          Trustee: (300010)           Joy R. Webster
Case Name:           Security Bank Corporation                                             Filed (f) or Converted (c): 07/31/09 (f)
                                                                                           §341(a) Meeting Date:       09/09/09
Period Ending:       06/30/13                                                              Claims Bar Date:            11/30/09

                                1                                        2                        3                          4                     5                    6

                       Asset Description                              Petition/           Estimated Net Value             Property           Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                Unscheduled      (Value Determined By Trustee,       Abandoned           Received by        Administered (FA)/
                                                                       Values           Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate         Gross Value of
Ref. #                                                                                      and Other Costs)                                                    Remaining Assets

         Adv. No. 11-5098

18       Preferential Transfer (u)                                            0.00                    13,273.94                                    13,273.94                   FA
           Registrar and Transfer Co. - Adv No. 11-5102

19       Preferential Transfer (u)                                            0.00                    15,000.00                                    15,000.00                   FA
           Alston & Bird - Adv No. 11-5100

20       Interest on Tax Refunds (u)                                          0.00                       62.82                                          62.82                  FA

21       Fraudulent Transfer (u)                                              0.00                 150,000.00                                      25,000.00                   FA
           Jones Day, LP - Adv. No. 11-5099

22       Preferential Transfer (u)                                            0.00               2,130,000.00                                     260,000.00                   FA
           SPP Investments, LLC and Southern Pine Plantations
         Commercial Group, LLC, aka SPP Commercial - Adv. No.
         11-5101

23       Stock & Business                                                Unknown                      Unknown                                            0.00                  FA
           100% participation interest in $12.3 million loan by
         Georgia Capital, LLC to Le Jardin, LLC dated January 29,
         2007. The loan is secured by real estate in Fulton
         County, Georgia. Security Bank of Gwinnett County
         succeeded to the rights of Georgia Capital, LLC and
         transferred the participation interst to Debtor.

24       Pro Rata Ad Valorem Taxes from Sale of Asset #1 (u)                  0.00                    Unknown                                       3,579.05                   FA

25       Distribution from SEC Fair Fund (u)                                  0.00                         0.00                                        147.67                  FA
 Int     INTEREST (u)                                                    Unknown                           N/A                                      4,120.39             Unknown

26       Assets          Totals (Excluding unknown values)           $3,820,533.24             $32,190,740.42                               $25,525,350.44                   $0.00

                                                                                                                                              Printed: 07/31/2013 01:22 PM   V.13.13
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                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       09-52409 JTL                                                               Trustee: (300010)           Joy R. Webster
Case Name:         Security Bank Corporation                                                  Filed (f) or Converted (c): 07/31/09 (f)
                                                                                              §341(a) Meeting Date:       09/09/09
Period Ending:     06/30/13                                                                   Claims Bar Date:            11/30/09

                              1                                            2                         3                          4                     5                    6

                      Asset Description                                Petition/             Estimated Net Value             Property           Sale/Funds           Asset Fully
           (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,       Abandoned           Received by       Administered (FA)/
                                                                        Values             Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate        Gross Value of
Ref. #                                                                                         and Other Costs)                                                   Remaining Assets



    Major Activities Affecting Case Closing:
            Collected funds in the Bank Accounts held by debtor. Still pursuing action regarding Tax Refunds against the FDIC. Also negotiating sale of real property in Fulton
            County resulting from participation agreement on the laon. Property in Fulton County sold. Will now sell property in Bibb County with agreement of the FDIC. Still
            need to resolve turnover actions and tax credit issue with FDIC. The adversary proceeding against Southern Pines will be mediated by Fife Whiteside in Columbus.
            The adversary filed by Security Interim will be assigned to Judge Smith for settlement conference. Resolved all litigation issues. Waiting on Tax information from
            FDIC for Final Return. When it is filed the case will be closed.

    Initial Projected Date Of Final Report (TFR): July 31, 2011                           Current Projected Date Of Final Report (TFR): March 31, 2014




                                                                                                                                                 Printed: 07/31/2013 01:22 PM     V.13.13
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                                                        Cash Receipts And Disbursements Record
Case Number:         09-52409 JTL                                                                  Trustee:          Joy R. Webster (300010)
Case Name:           Security Bank Corporation                                                     Bank Name:        BANK OF AMERICA
                                                                                                   Account:          ********06 - TIP Account
Taxpayer ID #:       **-***7916                                                                    Blanket Bond:     $10,375,000.00 (per case limit)
Period Ending:       06/30/13                                                                      Separate Bond:    N/A

   1           2                       3                                        4                                          5                      6                     7
 Trans.     {Ref #} /                                                                                                   Receipts           Disbursements          Money Market
  Date      Check #           Paid To / Received From              Description of Transaction             T-Code           $                     $               Account Balance
08/04/09       {3}        BRANCH BANK AND TRUST           Balance from Bank Account                       1129-000       1,500,000.00                                1,500,000.00
08/06/09       {2}        STATE BANK AND TRUST CO.        Balance from Bank Account                       1129-000       1,432,803.92                                2,932,803.92
08/06/09       {2}        STATE BANK AND TRUST            Balance from Bank Account                       1129-000              185.58                               2,932,989.50
                          COMPANY
08/31/09       Int        BANK OF AMERICA                 Interest Rate 0.090                             1270-000              158.67                               2,933,148.17
09/22/09      {12}        TROUTMAN, SANDERS LLP           Balance of Retainer for Atty Fees               1290-000         15,379.00                                 2,948,527.17
09/30/09       Int        BANK OF AMERICA                 Interest Rate 0.090                             1270-000              217.08                               2,948,744.25
10/30/09       Int        BANK OF AMERICA                 Interest Rate 0.090                             1270-000              225.40                               2,948,969.65
11/30/09       Int        BANK OF AMERICA                 Interest Rate 0.090                             1270-000              218.14                               2,949,187.79
12/04/09       {5}        THE GABLES ON FORSYTH           Refund of Security Deposit                      1129-000             1,000.00                              2,950,187.79
12/04/09       {5}        THE GABLES ON FORSYTH           Refund of Security Deposit                      1129-000               35.00                               2,950,222.79
12/31/09       Int        BANK OF AMERICA                 Interest Rate 0.090                             1270-000              225.49                               2,950,448.28
01/20/10      101         AKIN, WEBSTER & MATSON, P.C.    Bond Disbursement Reimbursement of Bond         2300-000                                    2,390.51       2,948,057.77
                                                          Payments - check no. 5489
01/29/10       Int        BANK OF AMERICA                 Interest Rate 0.090                             1270-000              225.46                               2,948,283.23
02/26/10       Int        BANK OF AMERICA                 Interest Rate 0.090                             1270-000              203.55                               2,948,486.78
03/31/10       Int        BANK OF AMERICA                 Interest Rate 0.090                             1270-000              225.39                               2,948,712.17
04/02/10                  T. LYNN DAVIS AUCTION CO.       Proceeds of Sale                                                 12,540.00                                 2,961,252.17
               {9}          T. LYNN DAVIS                   Gross Proceeds of Sale            11,400.00   1129-000                                                   2,961,252.17
                            T. LYNN DAVIS                   Buyers Premium                     1,140.00   3610-000                                                   2,961,252.17
04/06/10      102         AKIN, WEBSTER & MATSON, P.C.    Trustee Attorney Fee Per Order dated 4/5/10                                             52,130.89          2,909,121.28
                                                            Ref # Trustee Attorney            45,437.50   3110-000                                                   2,909,121.28
                                                            Fee
                                                                                               6,693.39   3120-000                                                   2,909,121.28
04/06/10      103         CLIFTON, LIPFORD, HARDISON &    Accountant Fee Per Order dated 4/5/10           3410-000                                29,937.00          2,879,184.28
                          PARKER
04/30/10       Int        BANK OF AMERICA                 Interest Rate 0.090                             1270-000              214.14                               2,879,398.42
                                                                                                     Subtotals :        $2,963,856.82            $84,458.40
  {} Asset reference(s)                                                                                                                      Printed: 07/31/2013 01:22 PM    V.13.13
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                                                        Cash Receipts And Disbursements Record
Case Number:         09-52409 JTL                                                                Trustee:          Joy R. Webster (300010)
Case Name:           Security Bank Corporation                                                   Bank Name:        BANK OF AMERICA
                                                                                                 Account:          ********06 - TIP Account
Taxpayer ID #:       **-***7916                                                                  Blanket Bond:     $10,375,000.00 (per case limit)
Period Ending:       06/30/13                                                                    Separate Bond:    N/A

   1           2                          3                                     4                                        5                    6                     7
 Trans.     {Ref #} /                                                                                                 Receipts         Disbursements          Money Market
  Date      Check #           Paid To / Received From              Description of Transaction            T-Code          $                   $               Account Balance
05/28/10       Int        BANK OF AMERICA                 Interest Rate 0.090                           1270-000             220.09                              2,879,618.51
06/07/10      104         T. LYNN DAVIS                   Auctioneer Commission Final Disbursement -                                              1,214.77       2,878,403.74
                                                          Per Order dated 5/18/10
                                                            Fees                           1,140.00     3610-000                                                 2,878,403.74
                                                            Expenses                            74.77   3610-000                                                 2,878,403.74
06/30/10       Int        BANK OF AMERICA                 Interest Rate 0.090                           1270-000             213.00                              2,878,616.74
07/30/10       Int        BANK OF AMERICA                 Interest Rate 0.090                           1270-000             220.03                              2,878,836.77
08/30/10      105         AKIN, WEBSTER & MATSON, P.C.    Trustee Attorney Fee Interim Compensation -                                          47,435.12         2,831,401.65
                                                          Per Order dated 8/30/10
                                                            Ref # Trustee Attorney        46,575.00     3110-000                                                 2,831,401.65
                                                            Fee
                                                                                             860.12     3120-000                                                 2,831,401.65
08/30/10      106         CLIFTON, LIPFORD, HARDISON &    Accountant Fee Interim Compensation - Per     3410-000                               19,726.25         2,811,675.40
                          PARKER                          Order dated 8/30/10
08/31/10       Int        BANK OF AMERICA                 Interest Rate 0.090                           1270-000             219.96                              2,811,895.36
09/30/10       Int        BANK OF AMERICA                 Interest Rate 0.090                           1270-000             208.00                              2,812,103.36
10/14/10      {13}        WAITES & FOSHEE INSURANCE       Refund of Premiums                            1290-000         22,929.00                               2,835,032.36
10/29/10       Int        BANK OF AMERICA                 Interest Rate 0.090                           1270-000             215.74                              2,835,248.10
11/09/10      {14}        US TREASUREY                    941 tax refund                                1224-000             270.78                              2,835,518.88
11/30/10       Int        BANK OF AMERICA                 Interest Rate 0.090                           1270-000             209.74                              2,835,728.62
12/31/10       Int        BANK OF AMERICA                 Interest Rate 0.090                           1270-000             216.76                              2,835,945.38
01/03/11      107         AKIN, WEBSTER & MATSON, P.C.    Trustee Attorney Fee Per Order dated                                                 62,472.47         2,773,472.91
                                                          12/28/10 Fees $62,260.00 Expenses $212.47
                                                            Ref # Trustee Attorney        62,260.00     3110-000                                                 2,773,472.91
                                                            Fee
                                                                                             212.47     3120-000                                                 2,773,472.91
01/03/11      108         CLIFTON, LIPFORD, HARDISON &    Accountant Fee Per Order dated 12/28/10                                             101,886.22         2,671,586.69

                                                                                                    Subtotals :          $24,923.10          $232,734.83
  {} Asset reference(s)                                                                                                                  Printed: 07/31/2013 01:22 PM    V.13.13
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                                                           Cash Receipts And Disbursements Record
Case Number:         09-52409 JTL                                                                    Trustee:           Joy R. Webster (300010)
Case Name:           Security Bank Corporation                                                       Bank Name:         BANK OF AMERICA
                                                                                                     Account:           ********06 - TIP Account
Taxpayer ID #:       **-***7916                                                                      Blanket Bond:      $10,375,000.00 (per case limit)
Period Ending:       06/30/13                                                                        Separate Bond:     N/A

   1           2                          3                                        4                                          5                    6                     7
 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements          Money Market
  Date      Check #              Paid To / Received From               Description of Transaction            T-Code           $                   $               Account Balance
                          PARKER                             Fees $96,045.40 Expenses $5,840.82
                                                                Fees                           96,045.40     3410-000                                                 2,671,586.69
                                                                Expenses                         5,840.82    3420-000                                                 2,671,586.69
01/18/11      109         AKIN, WEBSTER & MATSON, P.C.       Bond Disbursement Reimbursement of Bond         2300-000                                  2,170.81       2,669,415.88
                                                             premium Pd. 1/12/11, Ck. No. 1248 Bond No.
                                                             016027943 Ter
01/20/11      {15}        INSURANCE BROKERAGE                Settlement Proceeds                             1249-000             141.27                              2,669,557.15
                          ANTITRUST LITIG
01/20/11      {15}        INSURANCE BROKERAGE                Settlement Proceeds                             1249-000             700.72                              2,670,257.87
                          ANTITRUST LITAG
01/31/11       Int        BANK OF AMERICA                    Interest Rate 0.090                             1270-000             205.56                              2,670,463.43
02/01/11      110         FULTON COUNTY TAX                  Administrative Expense Final Disbursement -     2820-000                              132,708.49         2,537,754.94
                          COMMISSIONER                       Per order dated 1/28/11 Parcel ID #:
                                                             09C-0700-0017-051-5 (
03/09/11      111         FDIC                               Administrative Expense Attn: Tobey S. Elliott   2990-000                                  1,174.50       2,536,580.44
                                                             Final Disbursement - Per Order dated 3/1/11
04/07/11                  LE JARDIN VCOFI, LLC               Net Proceeds of Sale wire transfer came in on                  2,238,422.70                              4,775,003.14
                                                             4/5/11 - Per Order dated 11/5/10
              {11}          LE JARDIN VCOFI, LLC, A             Gross Proceeds of Sale      2,855,048.87     1210-000                                                 4,775,003.14
                            GEORGIA
                            ENVIRONMENTAL CLEANUP               Closing Costs                   -6,575.00    2500-000                                                 4,775,003.14
                            (DRUMS)
                            FULTON CO.                          Clerk Fees                        -490.00    2500-000                                                 4,775,003.14
                            FULTON CO.                          State/County Recording          -2,855.10    2500-000                                                 4,775,003.14
                                                                Taxes
                            FULTON CO. & VESTA                  Property Tax                 -281,038.58     2500-000                                                 4,775,003.14
                            FULTON CO. & VESTA                  Pro Rata Property Tax          -40,162.60    2500-000                                                 4,775,003.14


                                                                                                        Subtotals :        $2,239,470.25          $136,053.80
  {} Asset reference(s)                                                                                                                       Printed: 07/31/2013 01:22 PM    V.13.13
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                                                         Cash Receipts And Disbursements Record
Case Number:         09-52409 JTL                                                                 Trustee:           Joy R. Webster (300010)
Case Name:           Security Bank Corporation                                                    Bank Name:         BANK OF AMERICA
                                                                                                  Account:           ********06 - TIP Account
Taxpayer ID #:       **-***7916                                                                   Blanket Bond:      $10,375,000.00 (per case limit)
Period Ending:       06/30/13                                                                     Separate Bond:     N/A

   1           2                            3                                      4                                       5                    6                     7
 Trans.     {Ref #} /                                                                                                   Receipts         Disbursements          Money Market
  Date      Check #            Paid To / Received From              Description of Transaction            T-Code           $                   $               Account Balance
                            WEINSTOCK REALTY AND             Broker Fees                 -142,752.45      3991-000                                                 4,775,003.14
                            DEVELOPMENT
                            BULL REALTY                      Broker Fees                 -142,752.44      3510-000                                                 4,775,003.14
04/13/11      112         INTERNATIONAL SURETIES, LTD      Bond Disbursement Bond No. 016042110           2300-000                                  9,400.00       4,765,603.14
                                                           Term: 4/1/11 to 4/1/12
05/11/11      {10}        BANK OF AMERICA                  Portion of Tax Refund                          1224-000        336,311.28                               5,101,914.42
05/19/11      113         RICHARD B. FREEMAN               Attorney Fee and Expense Final Disbursement                                              6,468.75       5,095,445.67
                                                           - Per Order dated 5/18/11
05/19/11      114         AKIN, WEBSTER & MATSON, P.C.     Trustee Attorney Fee Per Order dated 5/18/11                                         48,083.47          5,047,362.20
                                                             Ref # Trustee Attorney        40,770.00      3110-000                                                 5,047,362.20
                                                             Fee
                                                                                             7,313.47     3120-000                                                 5,047,362.20
05/19/11      115         CLIFTON, LIPFORD, HARDISON &     Accountant Fee Per Order dated 5/18/11         3410-000                              68,209.24          4,979,152.96
                          PARKER
05/19/11                                                     Fees                            6,418.75     3210-000                                                 4,979,152.96
05/19/11                                                     Expenses                            50.00    3220-000                                                 4,979,152.96
06/03/11                  FULTON COUNTY TAX                Refund of Taxes Paid                                                                -52,259.22          5,031,412.18
                          COMMISSIONER
                            FULTON COUNTY TAX                                              -52,259.22     2820-000                                                 5,031,412.18
                            COMMISSIONER
06/03/11                  FULTON COUNTY TAX                Refund of Taxes Paid                                                                -51,394.88          5,082,807.06
                          COMMISSIONER
                            FULTON COUNTY TAX                Refund of Taxes Paid          -51,394.88     2820-000                                                 5,082,807.06
                            COMMISSIONER
08/04/11                  Bank of America                  Transfer to Bank of New York Mellon            9999-000                           5,082,807.06                    0.00




                                                                                                    Subtotals :           $336,311.28       $5,111,314.42
  {} Asset reference(s)                                                                                                                    Printed: 07/31/2013 01:22 PM    V.13.13
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                                                     Cash Receipts And Disbursements Record
Case Number:       09-52409 JTL                                                            Trustee:            Joy R. Webster (300010)
Case Name:         Security Bank Corporation                                               Bank Name:          BANK OF AMERICA
                                                                                           Account:            ********06 - TIP Account
Taxpayer ID #:     **-***7916                                                              Blanket Bond:       $10,375,000.00 (per case limit)
Period Ending:     06/30/13                                                                Separate Bond:      N/A

  1           2                     3                                   4                                               5                6                     7
Trans.     {Ref #} /                                                                                              Receipts        Disbursements        Money Market
 Date      Check #         Paid To / Received From           Description of Transaction               T-Code         $                  $             Account Balance

                                                                      Account ********06
                                                                                Balance Forward                  0.00
                                                                             15          Deposits        5,664,373.35          15         Checks           585,408.49
                                                                             18 Interest Postings            3,842.20           1 Adjustments Out        5,082,807.06
                                                                                                                                0   Transfers Out                0.00
                                                                                           Subtotal      5,668,215.55
                                                                                                                                             Total       5,668,215.55
                                                                               0   Adjustments In                0.00
                                                                               0     Transfers In                0.00
                                                                                              Total      5,668,215.55




 {} Asset reference(s)                                                                                                              Printed: 07/31/2013 01:22 PM    V.13.13
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                                                                                  Form 2                                                                                   Page: 6
                                                            Cash Receipts And Disbursements Record
Case Number:         09-52409 JTL                                                                    Trustee:         Joy R. Webster (300010)
Case Name:           Security Bank Corporation                                                       Bank Name:       Rabobank, N.A.
                                                                                                     Account:         ****407666 - Checking Account
Taxpayer ID #:       **-***7916                                                                      Blanket Bond:    $10,375,000.00 (per case limit)
Period Ending:       06/30/13                                                                        Separate Bond:   N/A

   1           2                           3                                        4                                       5                    6                     7
 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements            Checking
  Date      Check #            Paid To / Received From                 Description of Transaction           T-Code          $                   $               Account Balance
12/14/12                  RABOBANK MIGRATION                   RABOBANK MIGRATION                          9999-000       7,645,496.03                              7,645,496.03
                          TRANSFER IN
12/31/12                  Rabobank, N.A.                       Bank and Technology Services Fee            2600-000                                  2,679.56       7,642,816.47
01/09/13                  RABOBANK MIGRATION                   RABOBANK MIGRATION                          9999-000         41,249.80                               7,684,066.27
                          TRANSFER IN
01/11/13     21012        William M. Flatau, Trustee for       Settlement Proceeds on Adv. No. 12-5052 -   8500-002                              750,000.00         6,934,066.27
                          Security Interim Holding Corp        Per Order dated 12/19/12
01/31/13                  Rabobank, N.A.                       Bank and Technology Services Fee            2600-000                                  3,163.59       6,930,902.68
02/01/13     21013        Akin, Webster & Matson, P.C.         BOND PREMIUM PAYMENT ON LEDGER           2300-000                                     6,257.99       6,924,644.69
                                                               BALANCE AS OF 02/01/2013 FOR CASE
                                                               #09-52409, Reimbursement of Bond Premium
                                                               - Ck. No. 2572 - Bond No. 016027943
02/28/13                  Rabobank, N.A.                       Bank and Technology Services Fee            2600-000                                  2,684.93       6,921,959.76
03/29/13                  Rabobank, N.A.                       Bank and Technology Services Fee            2600-000                                  2,780.82       6,919,178.94
04/30/13                  Rabobank, N.A.                       Bank and Technology Services Fee            2600-000                                  3,068.49       6,916,110.45
05/15/13      {25}        Bank of America Fair Fund            Distribution from SEC Fair Fund             1249-000             122.46                              6,916,232.91
05/15/13      {25}        Bank of America Fair Fund            Distribution from SEC Fair Fund             1249-000              25.21                              6,916,258.12
05/31/13                  Rabobank, N.A.                       Bank and Technology Services Fee            2600-000                                  2,972.60       6,913,285.52
06/28/13                  Rabobank, N.A.                       Bank and Technology Services Fee            2600-000                                  2,684.93       6,910,600.59




                                                                                                       Subtotals :       $7,686,893.50          $776,292.91
  {} Asset reference(s)                                                                                                                     Printed: 07/31/2013 01:22 PM    V.13.13
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                                                     Cash Receipts And Disbursements Record
Case Number:       09-52409 JTL                                                           Trustee:            Joy R. Webster (300010)
Case Name:         Security Bank Corporation                                              Bank Name:          Rabobank, N.A.
                                                                                          Account:            ****407666 - Checking Account
Taxpayer ID #:     **-***7916                                                             Blanket Bond:       $10,375,000.00 (per case limit)
Period Ending:     06/30/13                                                               Separate Bond:      N/A

  1           2                     3                                   4                                              5               6                     7
Trans.     {Ref #} /                                                                                             Receipts       Disbursements          Checking
 Date      Check #         Paid To / Received From           Description of Transaction              T-Code         $                 $             Account Balance

                                                                      Account ****407666
                                                                                Balance Forward                 0.00
                                                                              2          Deposits             147.67          2         Checks           756,257.99
                                                                              0 Interest Postings               0.00          7 Adjustments Out           20,034.92
                                                                                                                              0   Transfers Out                0.00
                                                                                          Subtotal            147.67
                                                                                                                                           Total         776,292.91
                                                                               0   Adjustments In               0.00
                                                                               2     Transfers In       7,686,745.83
                                                                                             Total      7,686,893.50




 {} Asset reference(s)                                                                                                            Printed: 07/31/2013 01:22 PM    V.13.13
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                                                       Cash Receipts And Disbursements Record
Case Number:        09-52409 JTL                                                            Trustee:            Joy R. Webster (300010)
Case Name:          Security Bank Corporation                                               Bank Name:          Rabobank, N.A.
                                                                                            Account:            ****407667 - Checking Account
Taxpayer ID #:      **-***7916                                                              Blanket Bond:       $10,375,000.00 (per case limit)
Period Ending:      06/30/13                                                                Separate Bond:      N/A

  1            2                         3                                4                                              5               6                     7
Trans.     {Ref #} /                                                                                               Receipts       Disbursements          Checking
 Date      Check #           Paid To / Received From           Description of Transaction              T-Code         $                 $             Account Balance
 (No Transactions on File for this Period)                              Account ****407667
                                                                                  Balance Forward                 0.00
                                                                                0          Deposits               0.00          0         Checks                    0.00
                                                                                0 Interest Postings               0.00          0 Adjustments Out                   0.00
                                                                                                                                0   Transfers Out                   0.00
                                                                                            Subtotal              0.00
                                                                                                                                             Total                  0.00
                                                                                 0   Adjustments In               0.00
                                                                                 0     Transfers In               0.00
                                                                                               Total              0.00




 {} Asset reference(s)                                                                                                              Printed: 07/31/2013 01:22 PM    V.13.13
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                                                            Cash Receipts And Disbursements Record
Case Number:         09-52409 JTL                                                                         Trustee:            Joy R. Webster (300010)
Case Name:           Security Bank Corporation                                                            Bank Name:          The Bank of New York Mellon
                                                                                                          Account:            9200-******60-65 - Checking Account
Taxpayer ID #:       **-***7916                                                                           Blanket Bond:       $10,375,000.00 (per case limit)
Period Ending:       06/30/13                                                                             Separate Bond:      N/A

   1           2                           3                                           4                                            5                      6                     7
 Trans.     {Ref #} /                                                                                                            Receipts           Disbursements            Checking
  Date      Check #            Paid To / Received From                   Description of Transaction                T-Code           $                     $               Account Balance
08/04/11                  The Bank of New York Mellon           Transfer from Bank of America                      9999-000       5,082,807.06                                5,082,807.06
08/19/11     11001        International Sureties, LTD.          Bond Disbursement                                  2300-000                                    1,210.00       5,081,597.06
08/31/11       Int        The Bank of New York Mellon           Interest posting at 0.0100%                        1270-000             37.60                                 5,081,634.66
08/31/11                  The Bank of New York Mellon           Bank and Technology Services Fee                   2600-000                                    4,452.06       5,077,182.60
09/01/11      {18}        Register and Transfer Company of      Payment in full to settle Preference Litigation.   1241-000         13,273.94                                 5,090,456.54
                          New Jersy
09/30/11       Int        The Bank of New York Mellon           Interest posting at 0.0100%                        1270-000             41.82                                 5,090,498.36
09/30/11                  The Bank of New York Mellon           Bank and Technology Services Fee                   2600-000                                    5,136.99       5,085,361.37
10/12/11      {20}        United States Treasury                Interest on Tax Refunds owed to the estate.        1290-000             62.82                                 5,085,424.19
10/12/11                  From Account #9200******6066          Settlements of Preferential and Fraudulent         9999-000         40,000.00                                 5,125,424.19
                                                                Transfers
10/21/11     11002        Stroup Valuations, Inc.               Administrative Expense - Per Order dated           2990-000                                    1,500.00       5,123,924.19
                                                                10/19/11
10/31/11       Int        The Bank of New York Mellon           Interest posting at 0.0100%                        1270-000             43.39                                 5,123,967.58
10/31/11                  The Bank of New York Mellon           Bank and Technology Services Fee                   2600-000                                    4,965.75       5,119,001.83
11/14/11       Int        The Bank of New York Mellon           Interest posting at 0.0100%                        1270-000             18.21                                 5,119,020.04
11/16/11       Int        The Bank of New York Mellon           Interest posting at 0.0100%                        1270-000                 2.80                              5,119,022.84
11/30/11       Int        The Bank of New York Mellon           Interest posting at 0.0100%                        1270-000             21.03                                 5,119,043.87
11/30/11                  The Bank of New York Mellon           Bank and Technology Services Fee                   2600-000                                    5,479.44       5,113,564.43
12/07/11                  From Account #9200******6066          Estate's 10% of tax refunds                        9999-000       1,822,152.48                                6,935,716.91
12/07/11     11003        Akin, Webster & Matson, P.C.          Trustee Attorney Fee - Per Order dated                                                      56,596.48         6,879,120.43
                                                                12/6/11
                                                                                                    54,565.00      3110-000                                                   6,879,120.43
                                                                                                     2,031.48      3120-000                                                   6,879,120.43
12/07/11     11004        Clifton, Lipford, Hardison & Parker   Accountant Fee - Per Order dated 12/6/11           3410-000                                 45,536.00         6,833,584.43
12/30/11       Int        The Bank of New York Mellon           Interest posting at 0.0100%                        1270-000             55.24                                 6,833,639.67
12/30/11                  The Bank of New York Mellon           Bank and Technology Services Fee                   2600-000                                    5,136.98       6,828,502.69
                                                                                                             Subtotals :         $6,958,516.39            $130,013.70
  {} Asset reference(s)                                                                                                                               Printed: 07/31/2013 01:22 PM    V.13.13
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                                                            Cash Receipts And Disbursements Record
Case Number:         09-52409 JTL                                                                        Trustee:           Joy R. Webster (300010)
Case Name:           Security Bank Corporation                                                           Bank Name:         The Bank of New York Mellon
                                                                                                         Account:           9200-******60-65 - Checking Account
Taxpayer ID #:       **-***7916                                                                          Blanket Bond:      $10,375,000.00 (per case limit)
Period Ending:       06/30/13                                                                            Separate Bond:     N/A

   1           2                            3                                         4                                           5                   6                     7
 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements            Checking
  Date      Check #            Paid To / Received From                   Description of Transaction             T-Code            $                  $               Account Balance
01/12/12      {21}        Jones Day                             Settlement of Fraudulent Conveyance Action - 1241-000             25,000.00                              6,853,502.69
                                                                Adv. No. 11-5099 - Per Order dated 12/22/11
01/17/12       Int        The Bank of New York Mellon           Interest posting at 0.0100%                     1270-000              29.94                              6,853,532.63
01/31/12       Int        The Bank of New York Mellon           Interest posting at 0.0100%                     1270-000              28.16                              6,853,560.79
01/31/12                  The Bank of New York Mellon           Bank and Technology Services Fee                2600-000                                  5,465.41       6,848,095.38
02/29/12                  The Bank of New York Mellon           Bank and Technology Services Fee                2600-000                                  4,952.18       6,843,143.20
03/30/12                  The Bank of New York Mellon           Bank and Technology Services Fee                2600-000                                  5,122.95       6,838,020.25
04/17/12     11005        International Sureties, LTD           Bond Disbursement                               2300-000                               15,000.00         6,823,020.25
04/30/12                  The Bank of New York Mellon           Bank and Technology Services Fee                2600-000                                  4,952.18       6,818,068.07
05/18/12      {16}        Security Bank Escrow Account          Proceeds of sale of tax credits deemed to be     1290-000        551,059.76                              7,369,127.83
                                                                property of the estate per court order of May 1,
                                                                2012.
05/31/12                  The Bank of New York Mellon           Bank and Technology Services Fee                2600-000                                  5,635.24       7,363,492.59
06/13/12      {16}        Bank of America                       Interest Accrued in Escrow Account - to close   1290-000              87.98                              7,363,580.57
                                                                out account.
06/20/12     11006        Akin, Webster & Matson, P.C.          Ref # Trustee Attorney Fee - Per Order dated                                           56,083.00         7,307,497.57
                                                                6/15/12
                                                                                                  48,050.00     3110-000                                                 7,307,497.57
                                                                                                   8,033.00     3120-000                                                 7,307,497.57
06/20/12     11007        Clifton, Lipford, Hardison & Parker   Ref # Accountant Fee - Per Order dated                                                    8,374.99       7,299,122.58
                                                                6/15/12
                                                                                                   8,216.00     3410-000                                                 7,299,122.58
                                                                                                     158.99     3420-000                                                 7,299,122.58
06/29/12                  The Bank of New York Mellon           Bank and Technology Services Fee                2600-000                                  4,952.18       7,294,170.40
07/31/12                  The Bank of New York Mellon           Bank and Technology Services Fee                2600-000                                  5,464.48       7,288,705.92
08/13/12                  Stone & Baxter LLP                    Proceeds of Sale of Commercial Real Property                     207,439.05                              7,496,144.97
                                                                on Forsyth Road, Macon, GA.

                                                                                                          Subtotals :           $783,644.89          $116,002.61
  {} Asset reference(s)                                                                                                                          Printed: 07/31/2013 01:22 PM   V.13.13
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                                                           Cash Receipts And Disbursements Record
Case Number:         09-52409 JTL                                                                      Trustee:         Joy R. Webster (300010)
Case Name:           Security Bank Corporation                                                         Bank Name:       The Bank of New York Mellon
                                                                                                       Account:         9200-******60-65 - Checking Account
Taxpayer ID #:       **-***7916                                                                        Blanket Bond:    $10,375,000.00 (per case limit)
Period Ending:       06/30/13                                                                          Separate Bond:   N/A

   1           2                           3                                        4                                         5                    6                     7
 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements            Checking
  Date      Check #            Paid To / Received From                 Description of Transaction             T-Code          $                   $               Account Balance
               {1}                                                                             230,000.00    1110-000                                                 7,496,144.97
              {24}                                               Prorata Portion of Ad            3,579.05   1290-000                                                 7,496,144.97
                                                                 Valorem Taxes 8/11/12
                                                                 to 12/31/12
                            The Summit Group                     Broker Fees                    -23,000.00   2500-000                                                 7,496,144.97
                                                                 Transfer Tax                      -230.00   2500-000                                                 7,496,144.97
                                                                 Surveyor's Fee                  -2,910.00   2500-000                                                 7,496,144.97
08/31/12                  The Bank of New York Mellon         Bank and Technology Services Fee               2600-000                                  5,293.71       7,490,851.26
09/20/12     11008        State Bank & Trust                  Final Disbursement - Reimbursement of        2820-000                                10,671.45          7,480,179.81
                                                              Pro-Rata Taxes for 2009, 2010 & 2011 on Real
                                                              Property sold
09/27/12     11009        Fife Whiteside                      Final Distribution - Per Order dated 9/20/12   3721-000                                  1,427.72       7,478,752.09
09/28/12                  The Bank of New York Mellon         Bank and Technology Services Fee               2600-000                                  4,781.42       7,473,970.67
10/12/12      {22}        Southern Pine Plantations           Settlement of Adversaries against Southern     1241-000        260,000.00                               7,733,970.67
                          Commercial Group LLC                Pines Entities Adv. No. 11-5101 - Per Order
                                                              dated 10/9/12
10/25/12      {15}        Insurance Brokerage Antitrust       Distribution of proceeds on Claim Number       1249-000             122.14                              7,734,092.81
                          Litigation                          0006132779 per court order.
10/25/12      {15}        Insurance Brokerage Antitrust       Distribution of proceeds on Claim No.          1249-000             166.51                              7,734,259.32
                          Litigation                          0005664125 per court order.
10/25/12                  Global Surety LLC                   Refund Check for over payment of bond          2300-000                             -15,000.00          7,749,259.32
                                                              premium
10/31/12                  The Bank of New York Mellon         Bank and Technology Services Fee               2600-000                                  5,635.24       7,743,624.08
11/30/12                  The Bank of New York Mellon         Bank and Technology Services Fee               2600-000                                  5,122.95       7,738,501.13
12/10/12     11010        Akin, Webster & Matson, P.C.        Per Order dated 12/7/12                                                              41,249.80          7,697,251.33
                                                                 Attorney FeeTrustee             38,655.00   3110-000                                                 7,697,251.33
                                                                 Attorney Fee


                                                                                                         Subtotals :        $260,288.65           $59,182.29
  {} Asset reference(s)                                                                                                                       Printed: 07/31/2013 01:22 PM   V.13.13
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                                                            Cash Receipts And Disbursements Record
Case Number:         09-52409 JTL                                                                       Trustee:            Joy R. Webster (300010)
Case Name:           Security Bank Corporation                                                          Bank Name:          The Bank of New York Mellon
                                                                                                        Account:            9200-******60-65 - Checking Account
Taxpayer ID #:       **-***7916                                                                         Blanket Bond:       $10,375,000.00 (per case limit)
Period Ending:       06/30/13                                                                           Separate Bond:      N/A

   1           2                           3                                           4                                             5                6                     7
 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements          Checking
  Date      Check #            Paid To / Received From                  Description of Transaction                 T-Code         $                  $             Account Balance
                                                                  Trustee Atty Exp                 2,594.80     3120-000                                                 7,697,251.33
12/10/12     11011        Clifton, Lipford, Hardison & Parker   Per Order dated 12/7/12                         3410-000                              10,505.50          7,686,745.83
12/13/12                  RABOBANK MIGRATION                    TRANSFER TO 0001030001088                       9999-000                           7,645,496.03             41,249.80
                          TRANSFER OUT                          20121213
01/08/13                  RABOBANK MIGRATION                    TRANSFER TO 0001030001088                       9999-000                              41,249.80                  0.00
                          TRANSFER OUT                          20130108

                                                                                     Account 9200-******60-65
                                                                                               Balance Forward                0.00
                                                                                            10          Deposits      1,072,212.20          11         Checks           248,154.94
                                                                                             9 Interest Postings            278.19          16 Adjustments Out           82,549.16
                                                                                                                                             2   Transfers Out        7,686,745.83
                                                                                                        Subtotal      1,072,490.39
                                                                                                                                                          Total       8,017,449.93
                                                                                             1   Adjustments In       5,082,807.06
                                                                                             2     Transfers In       1,862,152.48
                                                                                                           Total      8,017,449.93




  {} Asset reference(s)                                                                                                                          Printed: 07/31/2013 01:22 PM   V.13.13
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                                                          Cash Receipts And Disbursements Record
Case Number:         09-52409 JTL                                                                    Trustee:            Joy R. Webster (300010)
Case Name:           Security Bank Corporation                                                       Bank Name:          The Bank of New York Mellon
                                                                                                     Account:            9200-******60-66 - Checking Account
Taxpayer ID #:       **-***7916                                                                      Blanket Bond:       $10,375,000.00 (per case limit)
Period Ending:       06/30/13                                                                        Separate Bond:      N/A

   1           2                          3                                        4                                           5                    6                     7
 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements          Checking
  Date      Check #            Paid To / Received From                Description of Transaction               T-Code          $                   $             Account Balance
08/25/11      {17}        Hall, Block, Garland & Meyer       Payment to resolve Preference Action - Adv.      1241-000         25,000.00                                  25,000.00
                                                             No. 11-5098 - Per Order dated 9/21/11
09/08/11      {19}        Alston & Bird LLP                  Payment of Settlement of Preference Action -     1241-000         15,000.00                                  40,000.00
                                                             Adv. No. 11-5100 - Per Order dated 10/4/11
10/12/11                  To Account #9200******6065         Settlements of Preferential and Fraudulent       9999-000                              40,000.00                  0.00
                                                             Transfers
11/08/11      {10}        Internal Revenue Service           Tax Refunds for 2005. To be held in              1224-000       8,950,111.04                              8,950,111.04
                                                             Non-interest bearing account until 90% is
                                                             disbursed to FDIC - Per Order dated 2/24/11
11/08/11      {10}        Internal Revenue Service           Tax Refund for 2003. To be held in               1224-000       2,132,001.81                            11,082,112.85
                                                             non-interest bearing account until 90% is
                                                             disbursed to FDIC - Per Order dated 2/24/11
11/08/11      {10}        Internal Revenue Service           Tax Refund for Tax Year 2004 to be held in       1224-000       6,654,574.33                            17,736,687.18
                                                             non-interest bearing account until 90% is
                                                             disbusred to FDIC - Per Order dated 2/24/11
11/08/11      {10}        Internal Revenue Service           Tax Refund for Tax Year 2006 to be held in       1224-000        484,837.58                             18,221,524.76
                                                             non interest bearing account until 90% is
                                                             disbursed to the FDIC - Per Order dated
                                                             2/24/11
11/15/11                  FDIC National Receivership Account Payment of Non-estate funds per Order of         8500-002                          16,399,372.28          1,822,152.48
                                                             Court dated 2/24/11
12/07/11                  To Account #9200******6065         Estate's 10% of tax refunds                      9999-000                           1,822,152.48                  0.00




                                                                                                          Subtotals :      $18,261,524.76     $18,261,524.76
  {} Asset reference(s)                                                                                                                        Printed: 07/31/2013 01:22 PM   V.13.13
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                                                       Cash Receipts And Disbursements Record
Case Number:        09-52409 JTL                                                                Trustee:            Joy R. Webster (300010)
Case Name:          Security Bank Corporation                                                   Bank Name:          The Bank of New York Mellon
                                                                                                Account:            9200-******60-66 - Checking Account
Taxpayer ID #:      **-***7916                                                                  Blanket Bond:       $10,375,000.00 (per case limit)
Period Ending:      06/30/13                                                                    Separate Bond:      N/A

  1            2                        3                                     4                                              5                6                     7
Trans.      {Ref #} /                                                                                                  Receipts        Disbursements          Checking
 Date       Check #         Paid To / Received From                Description of Transaction              T-Code         $                  $             Account Balance

                                                                            Account 9200-******60-66
                                                                                      Balance Forward                 0.00
                                                                                    6          Deposits      18,261,524.76           0         Checks                 0.00
                                                                                    0 Interest Postings               0.00           1 Adjustments Out       16,399,372.28
                                                                                                                                     2   Transfers Out        1,862,152.48
                                                                                                Subtotal     18,261,524.76
                                                                                                                                                  Total      18,261,524.76
                                                                                     0    Adjustments In              0.00
                                                                                     0      Transfers In              0.00
                                                                                                   Total     18,261,524.76

                             Net Receipts :       24,883,724.27             Case Totals
                   Plus Gross Adjustments :          641,626.17
                                                                                      Balance Forward                 0.00
         Less Other Noncompensable Items :        17,149,372.28
                                                                                   33          Deposits      24,998,257.98          28         Checks         1,589,821.42
                                                ————————
                                 Net Estate :     $8,375,978.16                    27 Interest Postings           4,120.39          25 Adjustments Out       21,584,763.42
                                                                                                                                     4   Transfers Out        9,548,898.31
                                                                                                Subtotal     25,002,378.37
                                                                                          Adjustments In                                          Total      32,723,483.15
                                                                                     1                        5,082,807.06
                                                                                     4      Transfers In      9,548,898.31
                                                                                                   Total     39,634,083.74            Net Total Balance       6,910,600.59




 {} Asset reference(s)                                                                                                                   Printed: 07/31/2013 01:22 PM   V.13.13
